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Exhibit 50
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From: Tomoko Kouno
Sent: — Fri, 27 Jul 2001 01:12:41 GMT

Kouzou Hirano; Yoshie Kojima; Wataru Echigo; Eisuke Arai; Takashi Ishimura; TOSHITYA
KIMURA; Takeshi Mori; Hironori Kondou; Yoshimichi Shibuya; Hajime Wakabayashi; Tadashi
Yamada; Yukihiro Satou; Junichi Oowada; Kazuhiro Sakashita; Tatsuhiko Ueda; Hitoshi Sekiguchi;
To: Issei Togawa; atsuhiko.tokinosu; ISHIBASHI; Anthony Cornish; fujita-mitsuhisa; Taisuke Kaise;
TOMOYUKI KATSUTA; enya; Kazuaki Kumakura; takashi.motose; Norio Aoki; Genichi Watanabe;
Gareth Thomas; Myrddin Jones; koba; Tetsuya Karasawa; Akira Inoue; Kiyoshi Kubo; Nobuaki Itou; -
Masaru Takami; Sakae Someya; Masaaki Tatsuke; Tsutomu Satou; W.b. Wang; Yoshiyuki Uchida

Subject: USA: UPDATE 1-Hitachi exits conventional PC display tube market.

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USA: UPDATE 1-Hitachi exits conventional PC display tube market.
By Eric Auchard

07/26/2001
Reuters English News Service
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NEW YORK, July 26 (Reuters) - Hitachi Ltd., Japan's biggest electronics
maker, on Thursday said it will exit the conventional desktop computer
display tube business, citing sluggish PC demand and a shift to new
displays.

In a statement issued late on Thursday in Tokyo, Hitachi said it will
halt production of cathode ray tubes (CRT) used to make finished
computer displays, and close plants employing 770 workers in Sakura
City, Japan, 950 in Singapore and 1,670 in Johore, Malaysia.

Hitachi said it is reviewing its options on the sale of the cathode ray
tube business, which generated 59 billion yen, or about US$470 million
in revenue during its fiscal year ended March, 2001, the company said.

"The sluggishness of the desktop PC market has reduced demand for CRTs
for PC monitors, leading to a sharp fall in prices," the company said in
a statement.

Gerry Corbett, a spokesman for Hitachi America said that the decision by
parent Hitachi Ltd. of Japan to depart from the tube business would have
no effect on Hitachi's on-going computer monitor business in the United
States or worldwide.

Hitachi America produces both cathode ray tube and flat-panel computer
displays but relies on tubes from a different manufacturer based in

China for the CRT tubes, the U.S. spokesman said. It produces flat panel
displays itself.

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The monitor business is sizable but not as large as the tube business,
Corbett said. Hitachi does not break out revenue for the business as a
whole.

Hitachi Ltd. added that it expected future demand for computer screens
to shift to so-called Liquid Crystal Display (LCD) monitors and that as
a result "there are no prospects for growth of the monitor CRT market."

Hitachi said its Display Group had sought to make the business
cost-competitive by shifting production overseas to lower-cost
manufacturing plants and moving to a product line-up of higher value
products such as flat-face and large size screens.

"However, it was determined that any radical improvement in
profitability would be difficult to achieve, leading to the decision to
pull out of the monitor CRT business," Hitachi said.

The diversified electronics maker said in future it would concentrate
its efforts in this area on flat panel displays, particularly Thin Film
Transistor (TFT) LCDs that include a cutting-edge technology it calls
Super TFT.

LCDs rely on rod-shaped molecules, which when twisted, offer better
contrast and wider viewing angles than older, bulkier cathode ray tube
technology.

Super TFT offers still higher picture quality and a wide viewing angle.
They are well-suited for moving picture images.

In Tokyo, Hitachi shares closed down 12 yen, or 1.13 percent, at 1050
yen in Thursday trading. Shares of Hitachi's American Depositary
Receipts (ADRs) fell 77 cents, or nearly 1 percent, to $84.60 on the New
York Stock Exchange.

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